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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Dianne Bolin,                              )
                                           )
          Plaintiff,                       )
                                           )
          v.                               )         No.   1:19-cv-2563
                                           )
Halsted Financial Services, LLC, an        )
Illinois limited liability company, LVNV   )
Funding, LLC, a Delaware limited liability )
company, and Resurgent Capital             )
Services, LP, a Delaware limited           )
partnership,                               )
                                           )
          Defendants.                      )         Jury Demanded

                                          COMPLAINT

       Plaintiff, Dianne Bolin, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt collection

actions violated the FDCPA, and to recover damages, and allege:

                                 JURISDICTION AND VENUE

       1.       This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331. Moreover, Defendant’s extensive business dealings here make them

subject to this Court’s general and specific jurisdiction.

       2.       Venue is proper in this District because: a) most of the acts and

transactions occurred here; and, b) Defendant Halsted resides here and all Defendants

transact substantial business here.

                                            PARTIES

       3.       Plaintiff, Dianne Bolin (“Bolin”), is a citizen of the State of Florida, from

whom Defendants attempted to collect a defaulted consumer debt that she allegedly
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owed for a Synchrony Bank credit card account, despite the fact that she had exercised

her rights to refuse to pay the debt and to be represented by the legal aid attorneys at

the Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities

program ("LASPD"), located in Chicago, Illinois.

        4.     Defendant, Halsted Financial Services, LLC (“Halsted”), is an Illinois

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, defaulted consumer debts. From its offices in Skokie, Illinois, Defendant

Halsted operates a nationwide defaulted debt collection business and attempts to

collect defaulted debts from consumers in virtually every state. In fact, Defendant

Halsted was acting as a debt collector as to the defaulted consumer debt it attempted to

collect from Plaintiff.

        5.     Defendant, LVNV Funding, LLC, (“LVNV”), is a Delaware limited liability

company that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or the telephone to collect, or attempt to collect, directly or

indirectly, defaulted consumer debts that it did not originate. LVNV operates a

nationwide defaulted debt collection business, and attempts to collect debts, directly or

indirectly, from consumers in virtually every state, including consumers in the State of

Illinois. In fact, Defendant LVNV was acting as a debt collector, as that term is defined

in the FDCPA, as to the defaulted consumer debts Defendants attempted to collect from

Plaintiff.

        6.     Defendant, Resurgent Capital Services, LP, (“Resurgent”), is a Delaware

limited liability company that acts as a debt collector, as defined by § 1692a of the



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FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, defaulted consumer debts. Resurgent operates a

nationwide defaulted debt collection business, and attempts to collect debts, directly or

indirectly, from consumers in virtually every state, including consumers in the State of

Illinois. In fact, Defendant Resurgent was acting as a debt collector, as that term is

defined in the FDCPA, as to the defaulted consumer debts Defendants attempted to

collect from Plaintiff.

       7.      Defendant LVNV is a bad debt buyer that obtains/buys large portfolios of

defaulted consumer debts for pennies on the dollar. LVNV has no employees and acts

through its sister company, Defendant Resurgent, which directs and controls LVNV.

Resurgent collects debts owed to LVNV on its own accord, as well as hires other

collection agencies to collect debts owed to LVNV.

       8.      Defendant LVNV’s principal, if not sole, business purpose is the collection

of defaulted consumer debts originated by others.

       9.      Defendants Halsted, LVNV and Resurgent are authorized to conduct

business in Illinois, and maintain registered agents here, see, records from the Illinois

Secretary of State, attached as Group Exhibit A. In fact, Defendants conduct extensive

business in Illinois.

       10.     Defendants Halsted, LVNV and Resurgent are licensed as debt collection

agencies in the State of Illinois, see, records from the Illinois Division of Professional

Regulation, attached as Group Exhibit B. In fact, Defendants act as collection agencies

in Illinois by trying to collect defaulted debts from thousands of persons in Illinois via

collection letters, credit reporting, phone calls and lawsuits.



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                                   FACTUAL ALLEGATIONS

       11.    Ms. Bolin is a disabled senior citizen, with limited assets and income, who

fell behind on paying her bills, including a debt she allegedly owed to Synchrony Bank.

At some point in time after this debt went into default, Defendant LVNV allegedly bought

Ms. Bolin’s Synchrony Bank account, and Defendants then began trying to collect it

from her by having Defendant Halsted, send Ms. Bolin a collection letter, dated

December 21, 2018. Ms. Bolin then sought the assistance of the legal aid attorneys at

the Chicago Legal Clinic’s LASPD program regarding Defendants’ collection actions. A

copy of this collection letter is attached as Exhibit C.

       12.    Accordingly, on February 4, 2019, one of Ms. Bolin’s legal aid attorneys at

LASPD informed Defendants, that Ms. Bolin was represented by counsel, and directed

them to cease contacting her, and to cease all further collection activities, because Ms.

Bolin was forced, by her financial circumstances, to refuse to pay her unsecured debt.

Copies of this letter and fax confirmation are attached as Exhibit D.

       13.    Nonetheless, Defendants then sent Ms. Bolin another collection letter,

dated March 4, 2019, demanding payment of the Synchrony Bank debt. A copy of this

letter is attached as Exhibit E.

       14.    Accordingly, on April 13, 2019, Ms. Bolin’s LASPD attorney had to send

Defendants yet another letter, again directing that communications and collections

cease. A copy of this letter is attached as Exhibit F.

       15.     Defendants’ violations of the FDCPA were material because, although

Plaintiff had been informed by counsel and believed that she had the right to refuse to



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pay this debt and to demand that collection communications cease, Defendants’

collection communications made Plaintiff believe that her demand had been futile and

that she did not have the rights Congress had granted her under the FDCPA.

       16.    Moreover, violations of the FDCPA which would lead a consumer to alter

her course of action as to whether to pay a debt, or which would be a factor in the

consumer's decision making process, are material, see, Lox v. CDA, 689 F.3d 818, 827

(7th Cir. 2012). Here, Defendants’ actions caused Plaintiff to question whether she was

still represented by counsel as to this debt, which caused stress and confusion as to

whether she was required to pay the debt at issue.

       17.    Defendants’ collection actions complained of herein occurred within one

year of the date of this Complaint.

       18.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       19.    Plaintiff adopts and realleges ¶¶ 1-18.

       20.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

       21.    Here, the letter from Plaintiff’s attorneys to Defendants (Exhibit D) told

Defendants to cease communications and cease collections. By directly communicating



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with Plaintiff regarding this debt and demanding payment (Exhibit E), Defendants

violated § 1692c(c) of the FDCPA

       22.    Defendants’ violation of § 1692c(c) of the FDCPA renders them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                    COUNT II
                   Violation Of § 1692c(a)(2) Of The FDCPA --
             Communicating With A Consumer Represented By Counsel

       23.    Plaintiff adopts and realleges ¶¶ 1-18.

       24.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

       25.    Defendants knew, or readily could have known, that Plaintiff was

represented by counsel in connection with her debts because her attorneys had given

notice in writing to Defendants that Plaintiff was represented by counsel, and had

directed a cessation of communications with Plaintiff. By directly sending Plaintiff a

collection letter (Exhibit E), despite being advised that she was represented by counsel,

Defendants violated § 1692c(a)(2) of the FDCPA.

       26.    Defendants’ violation of § 1692c(a)(2) of the FDCPA renders them liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                  PRAYER FOR RELIEF

       Plaintiff, Dianne Bolin, prays that this Court:



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       1.     Find that Defendants’ debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Bolin and against Defendants, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Dianne Bolin, demands trial by jury.

                                                     Dianne Bolin,

                                                     By: /s/ David J. Philipps_____________
                                                     One of Plaintiff’s Attorneys

Dated: April 16, 2019

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